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8                           UNITED STATES DISTRICT COURT
9                          SOUTHERN DISTRICT OF CALIFORNIA
10
11   MONICA ABBOUD, individually and               )    Case No.: 3:20-cv-02415-BEN-DEB
     on behalf of all others similarly             )
12
     situated,                                     )    ORDER GRANTING JOINT
13                       Plaintiff,                )    MOTION FOR EXTENSION OF
                                                   )    TIME TO RESPOND TO
14   v.                                            )    COMPLAINT
15                                                 )
     TRUTHFINDER, LLC, and DOES 1
                                                   )    [ECF No. 4]
16   through 10, inclusive, and each of them,
                                                   )
17                       Defendant.                )
18   I.    INTRODUCTION
19         Plaintiff Monica Abboud, individually and on behalf of all others similarly situated
20   (“Plaintiff”), brings this class action complaint for violations of the Telephone Consumer
21   Protection Act, 47 U.S.C. § 22(b), against Defendant Truthfinder, LLC (“Defendant”).
22   ECF No. 1. Before the Court is the Stipulation for Extension of Time for Defendant to
23   Respond to the Complaint (the “Joint Motion”). ECF No. 4. After considering the papers
24   submitted, supporting documentation, and applicable law, the Court GRANTS the Joint
25   Motion.
26   II.   BACKGROUND
27         On December 11, 2020, Plaintiff filed this class action complaint, alleging claims
28   for relief for (1) negligent and (2) willful violations of the Telephone Consumer Protection
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1    Act, 47 U.S.C. § 227(b). ECF No. 1.
2           On December 11, 2020, Plaintiff served Defendant with the complaint. ECF No.
3    3. On January 4, 2021, Plaintiff and Defendant filed a Stipulation for Extension of Time
4    to Respond to Complaint, seeking to extend Defendant’s time to file a responsive pleading
5    from January 4, 2021 to February 5, 2021. ECF No. 4 at 2.
6    III.   LEGAL STANDARD
7           Rule 12 of the Federal Rules of Civil Procedure requires a defendant to file a
8    responsive pleading within either (1) twenty-one days of being served with the summons
9    and complaint or (2) sixty days after the request for a waiver was sent. Pursuant to the
10   Local Rules, “[e]xtensions of time for answering, or moving to dismiss a complaint will
11   only be secured by obtaining the approval of a judicial officer, who will base the decision
12   on a showing of good case.” S.D. Cal. Civ. R. 12.1. Thus, “[i]n the Southern District,
13   court approval is required for any extension of time to answer or move to dismiss the
14   complaint.” Phillips, Virginia A., et al., Rutter Group Prac. Guide: Fed. Civ. Pro. Before
15   Trial, § 8:913 (The Rutter Group April 2020).
16   IV.    ORDER
17          The Court finds good cause exists for the extension. Thus, the Court GRANTS the
18   Joint Motion. Defendant shall until February 5, 2021 to respond to the complaint.
19          IT IS SO ORDERED.
20    DATED:      January 11, 2021
21                                                       HON. ROGER T. BENITEZ
                                                          United States District Judge
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